                              NO.  07-10-0042-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL B
                                       
                               FEBRUARY 22, 2010
                          __________________________
                                       
                       IN THE MATTER OF THE MARRIAGE OF
                     JESSICA N. ROQUE AND JOSE LUIS ROQUE
                          ___________________________
                                       
             FROM THE COUNTY COURT AT LAW NO. 3 OF LUBBOCK COUNTY;
                                       
                NO. 2008-545,444; HONORABLE JUDY PARKER, JUDGE
                          ___________________________
                                       
                                       
Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
                              MEMORANDUM OPINION
                                       
                                       
Appellant Jose Luis Roque filed a notice of appeal on February 1, 2010.  However, he did not pay the required filing fee of $175.  See Tex. R. App. P. 5 &amp; Appendix.  By letter of February 3, we informed appellant that failure to pay the filing fee within ten days of the letter might result in dismissal according to Rule of Appellate Procedure 42.3(c).  Tex. R. App. P. 42.3(c).  The deadline passed without payment of the filing fee.
	Finding appellant has not paid the filing fee required by rule, and finding that we have given notice to all parties, we dismiss the appeal pursuant to Rule 42.3(c).
	
It is so ordered.

	
								James T. Campbell
									Justice

